

ORDER

PER CURIAM.
AND NOW, this 5th day of March, 2002, William C. Gasper, Jr., having been suspended from the practice of law in the State of New Jersey for a period of six months by Order of the Supreme Court of New Jersey dated July 12, 2001, and disbarred from the practice of law in the State of New Jersey by Order of the Supreme Court of New Jersey dated October 2, 2001; the said William C. Gasper, Jr., having been directed on December 13, 2001, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that William C. Gasper, Jr., is disbarred from the practice of law in this Commonwealth, and he shall comply *596with all the provisions of Rule 217, Pa. R.D.E.
